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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                      January 26, 2022
                          UNITED STATES DISTRICT COURT
                                                                                     Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


DAN BUNKERING (AMERICA) INC.,                   §
                                                §
         Plaintiff,                             §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:20-CV-00321
                                                §
SWIBER OFFSHORE MEXICO, et al.,                 §
                                                §
         Defendants.                            §

                                           ORDER

       Plaintiff Dan Bunkering (America) Inc. has filed a Notice of Voluntary Dismissal Without

Prejudice as to Defendant Ranger Offshore, Inc. (“Ranger”). (Doc. 34.) In accordance with that

Notice and Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, all claims against Ranger

are DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas, on January 25, 2022.




                                                    KEITH P. ELLISON
                                                    UNITED STATES DISTRICT JUDGE




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